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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE t--. .. j
Western Division " `

    

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UNITED STATES OF AMERICA

-v- Case No. 2:01cr20212»-D

JAMES HUTTO

 

ORDER SETTING
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law While on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Oftice, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
comrnunity, it is FURTHER ()RDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
0 report as directed by the Probation Oftice.

0 other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

AO 199A Order Selttng Conoitions ot Re|ease

Thls document entered on the docket sheet in compliance /J) g
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'i`lre commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if tire offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or inforrnant; to retaliate or attempt to retaliate against a Witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, infomrant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposedl If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than 3250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware of the conditions of releasel I promise
to obey all conditions of release, to appear as directed, and to surren or service of any sentence imposed I am aware
of the penalties and sanctions set forth above.

 
  

 

Signatur'e of l§efendant

JAMES HUTTON

7533 CORDOVA CLUB DR.
CORDOVA, TN 38016
901-737-2640

DlRECT|ONS TO THE UN|TED STATES MARSHAL

'~El/The defendant is ORDERED released after processingl

l:l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

~\"'e `

Date: April 19, 2005

 

TU M_ PHAM '
UNITED sTATEs MAGISTRATE rUDGE

AO 199A Order Setting Condittons cf Release '2'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:01-CR-20212 Was distributed by faX, mail, or direct printing on
Apri120, 2005 to the parties listed.

 

 

Stuart J. Canale

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Honorable Bernice Donald
US DISTRICT COURT

